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February 7, 2025

VIA ECF

Hon. Analisa Torres

United States District Judge
Southern District of New York
United States Courthouse

500 Pearl Street, Room 15D
New York, N.Y. 10007

Re: Parker v. F & G Trends, Inc.
Case No. 1:24-cv-08355 (AT)

Letter Requesting Extension of Time for Default

Dear Judge Torres:

We represent Plaintiff Jeffrey Parker in the above-referenced Americans with Disabilities
Act (“ADA”) matter. Pursuant to Your Honor’s Order dated January 7, 2025, the parties were
directed to submit their joint letter and proposed case management plan by February 7, 2025 (Dkt.
10).

However, the Defendant has not appeared, and despite our best efforts to contact the
owners/proprietors of F & G Trends, we have not received any communication indicating that
counsel has or will appear on their behalf.

It is our intention to prosecute this matter promptly. Accordingly, we respectfully request
that Your Honor grant us a 21-day period to gather the necessary information and resources to file
for default judgment, pursuant to Federal Rule of Civil Procedure 55.

GRANTED. By March 3, 2025, Plaintiff shall move for default judgment in accordance with Attachment A to
the Court's Individual Practices in Civil Cases.

SO ORDERED. O-

Dated: February 10, 2025 ANALISA JOREES
New York, New York United States District Judge

